                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

State Of Illinois
                            Plaintiff,
v.                                                 Case No.: 1:17−cv−06260
                                                   Honorable Robert M. Dow Jr.
City Of Chicago
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 25, 2019:


        MINUTE entry before the Honorable Robert M. Dow, Jr: At the request of the
parties, Settlement Conference set for 10/10/2019 at 10:00 AM. Mailed notice(cdh, )




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